                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

KIRK NIELSEN, MORGAN
OUTLAW, REVEL LUBIN, FELICIA
BRUCE, BARBARA DEVANE, RAY
DAVIS, DONESA JACKSON,
ALIANZA FOR PROGRESS, INC.,  Consolidated Case No.
FLORIDA ALLIANCE FOR
RETIRED AMERICANS, INC. and
                             4:20-cv-00236-RH-MJF
PRIORITIES USA,
      Plaintiffs,

v.
RON DESANTIS, in his official
capacity as Florida Governor, et al.,

      Defendants.

                      NOTICE OF FILING SETTLEMENT

       The final settlement agreement referenced in ECF No. 595 is attached to this

 notice. Per agreement of the parties, the settlement agreement does not constitute

 an enforceable injunctive order of the Court and, as such, the Court retains no

 continuing jurisdiction over the agreement. See ECF No. 595.
      Respectfully submitted by:


/s/ Mohammad O. Jazil
Mohammad O. Jazil (FBN 72556)
HOPPING GREEN AND SAMS, P.A.
119 South Monroe Street, Suite 300
Tallahassee, FL 32301
(850) 222-7500
mjazil@hgslaw.com

Counsel for the Secretary of State


Dated: July 20, 2020




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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on July 20, 2020 I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system, which will

send a notice of electronic filing to all counsel of record.

                               /s/    Mohammad O. Jazil




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